      Case 1:18-cv-07978-ALC-KNF Document 39 Filed 01/31/20 Page 1 of 2


Hon. Kevin N. Fox
January 31, 2020
Page 1




                                        January 31, 2020



BY ECF & EMAIL

The Honorable Kevin N. Fox
United States Magistrate Judge
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 10007

       Re:     TNB USA Inc. v. Fed. Reserve Bank of N.Y., No. 18 Civ. 7978-ALC

Dear Judge Fox:

        We represent plaintiff TNB USA Inc. (“TNB”) and write to request a Rule 16 conference
so that discovery may proceed.

       TNB filed this action in August 2018 to enforce its statutory right to a Federal Reserve
master account, requesting a speedy hearing as provided by Fed. R. Civ. P. 57. FRBNY moved
to dismiss (ECF No. 20), and that motion has been fully briefed since April 2019, save for an
amicus brief submitted by non-party the Federal Reserve Board on May 8, 2019 (ECF Nos. 29-
31), which Judge Carter ordered on January 29, 2020, should be filed no later than February 7,
2020 (ECF No. 37).

        In May 2019, TNB served initial discovery requests on FRBNY (the “Requests”) and
asked for a discovery conference between the parties as required by Fed. R. Civ. P. 26(f).
FRBNY has refused, claiming the Requests are “facially invalid” because no Rule 26(f)
conference has taken place while simultaneously refusing to have such a conference. We raised
that dispute with Judge Carter by letter on May 15, 2019. (See ECF Nos. 32–35.)

        As Judge Carter has referred this case to Your Honor for general pre-trial purposes, we
respectfully ask that the Court hold a Rule 16 conference so that discovery can proceed.
      Case 1:18-cv-07978-ALC-KNF Document 39 Filed 01/31/20 Page 2 of 2


Hon. Kevin N. Fox
January 31, 2020
Page 2

      We thank the Court for its attention.


                                              Respectfully,



                                              Thomas E.L. Dewey

cc:   Counsel of Record (by ECF & Email)
